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  From: Paul Edalat <paul@sentarpharma.com>
  Subject: Kinghill v the world
  Date: June 18, 2016 at 4:21:47 PM MDT
  To: brucec@centaursales.com, shane@trivasconsulting.com, Ron Franco <kingron@aol.com>,
  greg@harvardinvestmentgroup.com, lesliew@centaursales.com, lweima.patch@together.net

  This is just the start. Wait till mine is filed. Then chads rics etc.
  Now continue going around telling people how u r going to take me down
  ! Go ahead.

  Mountains of evidence against all of u. Including u Shane. Told u
  watch the people around u who seem to be your friends. They are not.
  Did you really think u r going to get away with all of this? Stealing
  my company suing my family and putting all of that bs out there
  against me?
  Calling me a fraud? Fuck u thieves and the real frauds.
  Wait till u see everything and who I will sue.

  And old "buddy" Bruce next time watch who u tell:
  "I am going to take Paul down at whatever expense" be careful of who u
  say it to lol

  And Franco u scum u sued me for what? I don't even know u and u never
  even gave me a penny. Watch how I will expose u and your life for
  what u did. U think it's not obvious what u do in Thailand?think
  these guys are going to protect u when they have to protect themselves
  from the litigation ? Hahaha

  Lastly Greg....well just wait till u see what I will file by Friday of
  next week. Of course all with evidence and exhibits.

  Have a nice weekend u bastards. Now let's see who is laughing.

  Happy Father's Day to all of u!
  Try to enjoy with your wives and kids before they are all served with
  the copy of this lawsuit and the rest.




                                                                            Exhibit B
                                                                            Page 1
